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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                               September 7, 2016
                                       
                                       
In accordance with the enclosed Memorandum Opinion on Rehearing, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 7[th] day of September, 2016.

10-16-00061-CV	MICHELLE McMANUS v. SHEILA RICHEY, INDIVIDUALLY, AS NEXT FRIEND OF T.R., A MINOR, AND AS INDEPENDENT EXECUTRIX OF THE ESTATE OF GEORGE RICHEY - ON APPEAL FROM THE 12[TH] DISTRICT COURT OF MADISON COUNTY - TRIAL COURT NO. 15-14136-012-02  -  REVERSED AND REMANDED - Memorandum Opinion on Rehearing by Justice Scoggins:

"This cause came on to be heard on the transcript of the record of the Court below, and the same being considered, because it is the opinion of this Court that there was error in the judgment, it is ordered, adjudged and decreed by the Court that the judgment be reversed and the cause remanded in accordance with the opinion of this Court and that this decision be certified below for observance."
